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                         UNITED STATES DISTRICT COURT FOR THE
                          EASTERN DISTRICT OF PENNSYLVANIA

ELLEN UMANSKY,
                                                               CIVIL ACTION
                              Plaintiff,
                                                               No. 2:17-cv-04712
       v.

MELTON INTERNATIONAL TACKLE, INC., ET AL.,

                              Defendants.

       BRIEF IN SUPPORT OF THE MOTION OF MELTON INTERNATIONAL
              TACKLE, INC. FOR AN ORDER VACATING DEFAULT
                 JUDGMENT PURSUANT TO FED. R. CIV. P. 60(b)

       Defendant Melton International Tackle, Inc. (“MIT”), by and through its undersigned

counsel, hereby submits this Brief in support of the Motion of Melton International Tackle, Inc.

for an Order Vacating Default Judgment Pursuant to Fed. R. Civ. P. 60(b) (the "Motion"), and

sets forth as follows:

                                  PROCEDURAL HISTORY

       Plaintiff Ellen Umansky ("Plaintiff") initiated this action by filing a complaint in the

Court of Common Pleas of Bucks County, Pennsylvania on September 29, 2017. On October 23,

2017, Defendants Discover Bank, Discover Services, LLC, and Discover Financial Services,

LLC (collectively, “Discover”) filed a notice of removal and removed this matter to this Court.

On November 14, 2017, Plaintiff filed an amended complaint (the "First Amended Complaint"),

which was served with a summons on MIT at MIT's business address via certified mail, but was

only addressed to MIT, not to a director or officer of MIT. A true and correct copy of the return

card for the purported service of the Amended Complaint on MIT is attached hereto as Exhibit

A. On December 18, 2017, Plaintiff filed a second amended complaint (the "Second Amended

Complaint").
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       On June 5, 2018, Plaintiff filed a request for default (the "Request for Default") against

MIT, which resulted in a default (the "Default") being entered against MIT on that same date. On

September 6, 2018, Plaintiff filed a motion (the "Motion to Assess") for a hearing to assess

damages and for entry of a default judgment against MIT. Pursuant to an Order entered on

September 12, 2018, a hearing (the “Judgment Hearing”) on the Motion to Assess is was

scheduled for September 26, 2018. As a representative of MIT did not appear at the Judgment

Hearing, a default judgment was entered against MIT in the amount of $45,187.00 (the “Default

Judgment”).

                                         BACKGROUND

       The Second Amended Complaint sets forth four counts against MIT, consisting of: (I)

Breach of contract and Breach of Implied Good Faith & Fair Dealing; (II) Unjust Enrichment;

(III) Fraud and Fraudulent Misrepresentation; and (IV) Violations of Pennsylvania Unfair Trade

Practices & Consumer Protection Law.

       The claims contained within the Complaint are based on the underlying allegation that

MIT did not disclose its return policy to Plaintiff when Plaintiff purchased ten (10) fishing reels

(the “Purchase”) from MIT. The Complaint attempts to support this allegation by further alleging

that Plaintiff spoke with a sales representative and specifically inquired as to whether or not the

Purchase could be returned, to which Plaintiff alleges that she received an unconditional

affirmative response. However, MIT’s return policy includes a 20% restocking fee. This

restocking fee was particularly important with respect to the Purchase as MIT had insufficient

inventory to immediately supply two (2) of the reels (the “Special Order Reels”) and was forced

to special order them from the manufacturer, which, upon MIT returning the Special Order

Reels, would subject MIT to a 20% restocking fee. MIT contests the allegation that its return




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policy was misrepresented to Plaintiff and contests a large portion of the supporting allegations

contained in the Complaint.

       MIT initially consulted with counsel to represent it with respect Plaintiff's claims against

MIT. On MIT’s behalf, attorney Jonathan Stein, contacted attorney Gary Schafkopf, one of the

attorneys representing Plaintiff. Attorney Stein and attorney Schafkopf discussed Plaintiff's

claims against MIT and, in order to provide time for MIT to obtain local counsel and to allow for

Plaintiff and MIT to attempt to resolve those claims, attorney Schafkopf orally agreed not to

enter a default against MIT without first providing a period of notice to attorney Stein. This oral

agreement was memorialized by a letter (the "Agreement Letter") faxed to attorney Schafkopf by

attorney Stein.1 A true and correct copy of the Agreement Letter is attached hereto as Exhibit B.

       After being surprised by the entry of the Default at Plaintiff's request, attorney Stein

contacted attorney Matthew Weisberg, who also represents Plaintiff, on September 12, 2018, by

email. A true and correct copy of this email is attached hereto as Exhibit C. The email brought

the existence of the agreement between attorney Stein and attorney Schafkopf relating to entry of

a default to attorney Weisberg's attention and referenced the Agreement Letter. Despite being

made aware of the agreement, attorney Weisberg has did not vacate the Default or, upon

information and belief, take any steps to notify the Court that the Default was entered in

violation of the agreement.

       Based on the agreement between attorney Stein and attorney Schafkopf that a default

would not be entered against MIT without notice, MIT is filing this instant Motion requesting




1
 The Agreement Letter refers to no default being entered against "Mr. Melton," but the
subsequent reference to "Melton International" and the content of the Agreement Letter and
nature of both the conversation between attorneys Stein and Schafkopf and the nature of this
action make it clear that MIT was the party to which the agreement related.


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that the Court vacate the Default Judgment entered in violation of the agreement and allow MIT

to defend against the claims contained in the Second Amended Complaint.

                                          ARGUMENT

       There is a strong preference that cases be disposed on the merits whenever practicable.

Hritz v. Woma Corp., 732 F.2d 1178, 1181 (3d Cir.1984) (citing United States v. $55,518.05 in

U.S. Currency, No. 82-2758, slip op. at 6 (3d Cir. Feb. 21, 1983); Gross v. Stereo Component

Systems Inc., 700 F.2d 120, 122 (3d Cir. 1983); Feliciano v. Reliant Tooling Co., 691 F.2d 653,

656 (3d Cir. 1982); Farnese v. Bagnasco, 687 F.2d 761, 764 (3d Cir. 1982). Rule 55(c) of the

Federal Rules of Civil Procedure (the “Rules”) provides that, “The court may set aside an entry

of default for good cause, and it may set aside a final default judgment under Rule 60(b).” Fed.

R. Civ. P. 55(c) Rule 60(b) of the Rules provides that a Court may relieve a party from a final

judgment for the following reasons:

           (1) mistake, inadvertence, surprise, or excusable neglect;
           (2) newly discovered evidence that, with reasonable diligence, could not have been
           discovered in time to move for a new trial under Rule 59(b);
           (3) fraud (whether previously called intrinsic or extrinsic), misrepresentation, or
           misconduct by an opposing party;
           (4) the judgment is void;
           (5) the judgment has been satisfied, released, or discharged; it is based on an earlier
           judgment that has been reversed or vacated; or applying it prospectively is no longer
           equitable; or
           (6) any other reason that justifies relief.

Fed. R. Civ. P. 60(b). Rule 60(c) sets a restriction on the timing of a motion for relief from a

judgment pursuant to Rule 60(b), which requires that a party’s motion for relief from a judgment

be filed “within a reasonable time,” and, specifically for motions based on Rule 60(b)(1)-(3), that

such a motion must be filed within one (1) year after entry of the judgment. Fed. R. Civ. P. 60(c).

       The Third Circuit prescribed three factors a court should use when deciding whether to

vacating a default judgment, consisting of: “1) whether the plaintiff will be prejudiced if the



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default is lifted; 2) whether the defendant has a meritorious defense; and 3) whether the default

was the result of the defendant's culpable misconduct.” Hritz v. Woma Corp., 732 F.2d 1178,

1181 (3d Cir. 1984) (citing United States v. $55,518.05 in U.S. Currency, No. 82-2758, slip op.

at 6 (3d Cir. Feb. 21, 1983)).

  I.    MIT’s Request to Vacate the Default Judgment is Being Made Within a Reasonable
        Time

        Based on the agreement between the attorney’s for MIT and Plaintiff, MIT was not

anticipating the default Judgment being entered. However, Plaintiff pressed for the entry of the

Default Judgment and eventually obtained a writ of execution. When MIT because aware that

Plaintiff not only improperly obtained the Default Judgment but was now attempting to collect

on it, MIT retained local counsel to seek to vacate the Default Judgment. The delay between the

entry of the Default Judgment and the filing of this instant Motion is not substantial and will not

hamper the Parties’ ability to litigate this matter.

 II.    The Default Judgment Should be Vacated Because Plaintiff Failed to Properly Serve
        MIT

        Rule 4(c)(1) of the Rules states that, “A summons must be served with a copy of the

complaint. The plaintiff is responsible for having the summons and complaint served within the

time allowed by Rule 4(m) and must furnish the necessary copies to the person who makes

service.” Fed. R. Civ. P. 4(c)(1).

        Rule 5(h)(1)(B) of the Rules provides that service of process upon a corporation may be

accomplished by, “[D]elivering a copy of the summons and of the complaint to an officer, a

managing or general agent, or any other agent authorized by appointment or by law to receive

service of process and—if the agent is one authorized by statute and the statute so requires—by

also mailing a copy of each to the defendant.” Fed. R. Civ. P. 5(h).




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          Plaintiff attempted to serve MIT with a copy of the Amended Complaint and

corresponding summons by certified mail. However, the address listed on the certified mail

return filed by Plaintiff shows that the Complaint was not sent to the attention of an officer or

director of MIT. See Exhibit A. Accordingly, MIT never received service of original process

compliant with the Rules. Any prejudice that Plaintiff suffers through the vacating of the Default

Judgment is justified as the result of Plaintiff’s own failure to follow the Rules. Plaintiff’s failure

to properly serve MIT with a complaint and summons in this matter justified the Court setting

aside the Default Judgment based on Rule 60(b)(6).

III.      The Default Should be Vacated Due to the Agreement Between Counsel for Plaintiff
          and Counsel for MIT Regarding Entry of a Default

          In this instant action, cause exists to justify vacating the Default Judgment based on

Plaintiff's violation of its agreement conditioning entry of the Default and the factors enumerated

in Hritz. First, there will be no prejudice to Plaintiff. Plaintiff and MIT are yet to engage in any

substantive litigation relating to the claims alleged by Plaintiff. Plaintiff’s investment into this

matter, other than with respect to its claims against Defendant Discover,2 is modest. Further,

Plaintiff's counsel and MIT's counsel communicated regarding this action and, in December of

2017, reached an agreement that no default would be entered against MIT without Plaintiff's

counsel first providing notice to MIT's counsel. The purpose of this agreement was to allow for

MIT to retain local counsel to defend this action and to allow additional time for Plaintiff and

MIT to attempt to resolve Plaintiff's claims. This agreement was memorialized in the Agreement

Letter, which MIT's counsel faxed to Plaintiff's counsel soon after the agreement was made. See

Exhibit B. Based on the agreement, Plaintiff's Request for Default was improper and the

subsequent entry of the Default Judgement stripped MIT of its right to respond to the Second

2
    Plaintiff voluntarily dismissed her claims against Discovery with prejudice.


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Amended Complaint. As Plaintiff violated the Agreement by submitting the Request for Default,

Plaintiff will not be prejudiced by the resulting Default Judgment being vacated and the Parties

being returned to their respective positions that existed prior to the Default being entered.

       Second, MIT has meritorious defenses to Plaintiff's claims. MIT had no intention of

allowing the Default to be entered and considers Plaintiff's claims contested. For this reason,

MIT acted to preserve its right to respond to Plaintiff's claims through the agreement

conditioning the entry of a default against MIT. MIT has meritorious defenses as its return

policy, which includes the 20% restocking fee, is clear and available to its customers. Further,

MIT contests, as alleged in the Complaint, that any of its employees communicated to Plaintiff

that there was no restocking fee or that MIT’s return policy was without conditions. All of the

claims against MIT included in the Complaint rely entirely on Plaintiff’s allegation that she was

misinformed, misled, or otherwise provided with a representation that Plaintiff’s return of the

Purchase would not be subject to a restocking fee. As MIT contests this and is prepared to offer

evidence to the contrary, MIT has a meritorious defense that strikes at the heart of Plaintiff’s

claims. Accordingly, MTI requests that, in addition to the Court setting aside the Default, that the

Court provide MTI with fourteen (14) days to respond to the Second Amended Complaint.

       Finally, MIT's conduct with respect to this action has been reasonable, appropriate, and

did not lead to the entry of the Default Judgment. MIT secured an agreement with Plaintiff's

counsel establishing that MIT would be given notice and an opportunity to respond to Plaintiff's

Complaint prior to Plaintiff requesting entry of a default. Disregarding that agreement, Plaintiff

filed the Request for Default that resulted in the Default Judgment being entered. The Request

for Default was filed by Plaintiff without any advance notice to MIT, leaving MIT with no

opportunity to file a response to the Second Amended Complaint following Plaintiff's decision




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not to honor the agreement. MIT also attempted to have Plaintiff set aside the Default after it was

entered in order to avoid involving the Court in this issue, but was unsuccessful. See Exhibit C.

Although the Defendant did not attend the Damages Hearing, Plaintiff not honoring its

agreement relating to the Default was not anticipated by MIT and MIT expected Plaintiff’s

counsel to correct the record with respect to the Default being improperly entered. MIT’s

reliance on Plaintiff’s to do so may have been in vain, but it was reasonable conduct given that

MIT otherwise would have been required to retain local counsel and send one of its

representatives from California to Pennsylvania to attend a hearing that never should have gone

forward. MIT is not culpable with respect to the entry of the Default Judgment and, if the Default

Judgment is vacated, intends to continue to defend itself against Plaintiff's claims.

                                         CONCLUSION

       WHEREFORE, MIT respectfully requests that the Court enter an order vacating the

Default Judgment, and for such other relief as the Court finds just and proper.

                                              BIELLI & KLAUDER, LLC

Date: April 22, 2019                          /s/ Thomas D. Bielli
                                              Thomas D. Bielli, Esquire
                                              Cory P. Stephenson, Esquire
                                              1500 Walnut Street, Suite 900
                                              Philadelphia, PA 19102
                                              Phone: 215-642-8271
                                              Fax: 215-754-4177
                                              tbielli@bk-legal.com
                                              cstephenson@bk-legal.com

                                              Counsel to Defendant
                                              Melton International Tackle, Inc.




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       Exhibit A
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        Exhibit B
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   5050 Laguna Blvd, Suite 112-325 | Elk Grove, CA 95758 | 916.247.6868 | www.jonathangstein.com




December 8, 2017

VIA FAX 888-238-1334
Mr. Gary Schafkopf
Schafkopf Law
11 Bala Ave
Bala Cynwyd, PA 19004


       Re:     Umansky v. Melton et al


Dear Mr. Schafkopf:

       I am counsel for Mr. Tracy Melton and Melton International Tackle. This
will confirm our conversation of today wherein you agreed not to take a default of
Mr. Melton without giving me notice so that Mr. Melton and Melton International
can obtain local counsel to file a responsive pleading. This will give us time to
sort out the pleadings and try to resolve this matter.


                                                         Sincerely,



                                                         By:_______________
                                                            Jonathan G. Stein
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        Exhibit C
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